Case 1:12-cv-02002-WJM-CBS Document 38 Filed 03/13/15 USDC Colorado Page 1 of 2

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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                               Chris Wolpert
  Clerk of Court                         March 13, 2015                          Chief Deputy Clerk




  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  Mr. Adam C. Jed
  Mr. Mark B. Stern
  U.S. Department of Justice
  Civil Division, Appellate Staff
  950 Pennsylvania Avenue, NW
  Washington, DC 20530

  Mr. Mark S. Pestal
  Mr. Robert Mark Russel
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  District of Colorado
  1225 17th Street, Suite 700
  Denver, CO 80202

  Ms. Julia T. Thompson
  Schoenwald & Thompson
  1890 Gaylord Street
  Denver, CO 80206

  RE:       13-1373, Burton v. United States, et al
            Dist/Ag docket: 1:12-CV-02002-WJM-CBS

  Dear Clerk and Counsel:

  Please be advised that the court issued an order today dismissing this case.
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  In addition, please be advised that the mandate for this case has issued today. The clerk of
  the originating court shall file accordingly.

  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court



  EAS/kf




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